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          Exhibit	  I	  
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                                                            Home   My Network   Jobs




Yukio   Otaguro
Hardware Engineer
San Jose, California, United States · Contact info
128 connections
     Message          More

About
-

Activity
128 followers
Yukio hasn't posted lately
Yukio’s recent posts and comments will be displayed here.
                              Show all activity

Experience
        Hadware Engineer
        Oracle
        Feb 2010 - Aug 2017 · 7 yrs 7 mos
        santa clara, CA
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      SRAM design.
                                                              Home My Network
      EMIR, signal integrity, power, noise check and flow verification.           Jobs
      Standard cell library design.
      CPU integration. Global clock, power grid, bump, design and physical
      verification.
      Hardware Engineer
      Sun Microsystems
      May 2001 - Jan 2010 · 8 yrs 9 mos
      Santa clara ca
      CPU integration. Floorplan, pin assignment, abstract management,
      routing, timing/noise/EM fix
      SRAM circuit design. Single ended, differential, dynamic, L2Tag, register
      file, DecoderEngineer
      Hardware      and I/O
      Toshiba Corporation japan
      Oct 1997 - May 2001 · 3 yrs 8 mos
      Kawasaki, Kanagawa, Japan
      Development of timing estimation and budgeting flow from floorplan.
      Repeater insertion methodology and flow development.
      RC extraction flow, backend verification.
      Floorplan, synthesis, place and route, and timing check.
      Hierarchical floorplan, place and route.
      Hardware Engineer
      Toshiba America Electronic Components, Inc.
      Nov 1995 - Sep 1997 · 1 yr 11 mos
      San Francisco Bay Area
      Project with SGI/MIPS
      Circuit design methodology definition.
       - Noise simulation and design guidelines
       - RC delay, power grid simulation and design guidelines
      CAM circuit design
      Hardware Engineer
      Toshiba Corporation japan
      Apr 1986 - Oct 1995 · 9 yrs 7 mos
      Kawasaki, Kanagawa, Japan
      RTL and circuit design of integer unit in CPU.
      Static timing analysis, timing budgeting.
      Development of architecture and gate level power estimation tool.
      Standard cell library design.
      Register file design.
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Education
                                                               Home     My Network   Jobs
          Tohoku University
          Master's degree, Electrical, Electronics and Communications Engineering
          1984 - 1986

Skills
Integrated Circuit Design
     Endorsed by 4 colleagues at Oracle
     4 endorsements

IC Layout
     Endorsed by 4 colleagues at Oracle
     4 endorsements

Standard Cell
     Endorsed by 4 colleagues at Oracle
     4 endorsements
                                  Show all 8 skills

Languages
English
Professional working proficiency
Japanese
Native or bilingual proficiency
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Contact
                                     Yukio Otaguro
www.linkedin.com/in/yukio-           Hardware Engineer
otaguro-2119a8144 (LinkedIn)         San Jose, California, United States

Top Skills                           Summary
Integrated Circuit Design
                                     -
IC Layout
Standard Cell


Languages                            Experience
Japanese (Native or Bilingual)
                                     Oracle
English (Professional Working)       Hadware Engineer
                                     February 2010 - August 2017 (7 years 7 months)
                                     santa clara, CA

                                     SRAM design.
                                     EMIR, signal integrity, power, noise check and flow verification.
                                     Standard cell library design.
                                     CPU integration. Global clock, power grid, bump, design and physical
                                     verification.


                                     Sun Microsystems
                                     Hardware Engineer
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                                     CPU integration. Floorplan, pin assignment, abstract management, routing,
                                     timing/noise/EM fix
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                                     Hierarchical floorplan, place and route.


                                     Toshiba America Electronic Components, Inc.
                                                                        Page 1 of 2
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                  - Noise simulation and design guidelines
                  - RC delay, power grid simulation and design guidelines
                  CAM circuit design


                  Toshiba Corporation japan
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                  Register file design.




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